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            UNITED STATES DISTRICT COURT FOR
                THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA,                              Case No.: 1:21-cr-00128-RC

             v.


WILLIAM ALEXANDER POPE,

                        Defendant .


      REPLY TO THE GOVERNMENT’S OPPOSITION TO
   IDENTIFYING THEIR EMPLOYEES – FBI AGENTS – WHO
    WOULD BE FAVORABLE WITNESSES IN MY DEFENSE
       On Friday, March 15, 2024, I filed ECF No. 223 seeking Court clarification on whether

the government had filed a motion to file sealed and redacted copies of their response to ECF

No. 212 with the Court. I have not yet heard back from the Court on whether the government’s

motion has been docketed, of if the Court has granted or denied their request to file under seal.

However, since the government emailed me their motion to file (See Exhibit 1) and the redacted

copy of their response (See Exhibit 2) on Wednesday, March 13, 2024, and since I have not yet

received guidance back from the Court, I am filing this reply seven days after receipt from the

government. Since I do not have document numbers to refer to, this filing is in reply to the

government’s response which is included as Exhibit 2.

       At no point in the government’s response did the government deny that Guandolo’s

associates are FBI agents, or that these agents were both “formerly interviewed” by the FBI as

Guandolo has stated (ECF No. 212 at 6). Such a straight up denial would have been the easiest

way for the government to put this issue to rest, but instead the government forced the Court to
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labor through ten pages of opposition that desperately attempt to convolute the issue and dodge

due process by the government pretending they have no idea who these FBI agents are.

       The fact is, Guandolo filed a sworn affidavit at the risk of perjuring himself which states

that he was “present with an FBI colleague – Special Agent – near the Capitol on January 6”

(See ECF No. 212-1 at Section 3). This sworn declaration supports Guandolo’s many public

statements as I have outlined in ECF No. 212, where Guandolo claims to have met with several

FBI agents at the Capitol.

       Were Guandolo lying about an FBI agent being with him at the Capitol, both the DOJ

and the Alaska State Court would hold him accountable for filing a false sworn statement, but

the government has not charged Guandolo with perjury. Instead, the government insists in their

response (See Exhibit 2 at 2) that they have “no obligation to investigate” these individuals that

Guandolo has identified as FBI agents. This statement runs counter to everything the government

has been doing for the past three years. Why is the government rabidly hunting “entirely

peaceful” Americans like me down, but not these colleagues of Guandolo? If the government is

no longer concerned with investigating individuals who entered their alleged restricted area, they

should drop my charges and ignore me as well. But since the government has not dropped my

charges, I have to exercise my Constitutional right to confront these allegations and insist on a

due process for obtaining favorable testimony from these FBI agents.

       To be clear, at no point have I suggested that these FBI agents with Guandolo were

involved in an “inside job” as the government has claimed on page 3 of their response. My

motion to compel identification is entirely centered on obtaining favorable testimony from

eyewitnesses who are employed by the FBI, and that their favorable testimony is likely to be a

determining factor in me being found not guilty (ECF No. 212 at 19). The fact that one of these
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FBI agents was elated and clapping as people ran up the steps, and that all of these FBI agents

found it to be permissible to enter the government’s alleged restricted area, is highly persuasive.

Furthermore, these agents were witnessing the same permissive police actions that my brother

and I witnessed on the east side, and these agents were in close proximity to my brother and I.




Figure 1: My brother and I walked right past the group that Guandolo has said included FBI agents and local law enforcement.
At various times we were within 35 yards of Guandolo and his colleagues. [This camera has been released by Speaker Johnson].

         As I noted in ECF No. 212, Guandolo and his FBI colleagues witnessed events on the

East Side of the Capitol and made professional observations about invitational police behavior.

Regardless of what each officer felt they were doing, the perception Capitol Police left on many,

including myself and these FBI agents, was that police were allowing people to enter the East

Plaza and approach the Capitol. I noted this in great detail in ECF No. 165 at 5, (which is

connected to a pending motion to compel the government to produce all CCTV in discovery).

         In addition to Guandolo’s FBI colleagues witnessing many of the same events that I did,

Figure 1 shows that my brother and I were at times within 35 yards of Guandolo’s group, while

Guandolo and his FBI colleagues were still in the vicinity. The actions of Guandolo and his FBI

associates also demonstrate that they determined for themselves that it was permissible to be in

the government’s alleged restrict area both before and after my brother left Capitol grounds.
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         The government is attempting to argue in their response that police did not invite people

onto the steps, but rather that “officers were overrun by a violent angry mob” (See Footnote 3 on

Page 2 of Exhibit 2). However, CCTV footage from Camera 7202 shows that Guandolo’s

clapping FBI Colleague 2 went up on the steps at 2:28 p.m. to take group pictures. The

government is Monday morning quarterbacking this, arguing after the fact that police did not let

people on the steps, when the government’s own FBI employee who was on the ground at the

Capitol found it to be reasonable and permissible to be in this area at the time. I am submitting

the video of this FBI agent walking up the steps to the Capitol as Exhibit 3.1

         Since this FBI Agent has professional law enforcement training, and since he found it

permissible to walk up on the steps while three Capitol Police officers looked on nearby (See

Figure 2), it is reasonable for me to conclude that this FBI agent will provide favorable testimony

about the permissive actions of police that is likely to sway a jury away from a determination of

guilt. This justifies the due process argument I made in ECF No. 212 at 17.




Figure 2: At 2:28 p.m., Guandolo’s clapping FBI colleague went up on the SE steps of the Capitol to take photos of a group he
was with. The three Capitol Police near him did not seem to impress upon this FBI agent that he was not allowed to be there.


1
 Exhibit 3 contains CCTV from Camera 7202 that was recently released by Speaker Johnson, and can be accessed
here: https://rumble.com/v4kjbx0-exhibit-3.html
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         In addition to this, the government raises a good point on Page 7 in Footnote 5 of their

response to ECF No. 212. The government writes, “The prosecution is responsible for disclosure

of favorable evidence “’known to those acting on the government’s behalf in the case, including

the police.’” I’m glad the government has conceded this.

         The fact is, a uniformed FBI Swat team arrived on the east side of the Capitol at 2:33

p.m., removing barricades in the process, which left the government’s alleged restricted area

even more open. Immediately upon these uniformed FBI arriving, the individual I identified as

Guandolo’s FBI Colleague 1 in ECF 212, walked up to the FBI Swat vehicles and talked with

them for approximately five minutes. This could indicate that FBI Colleague 1 was indeed on the

clock at the Capitol on January 6, or that the uniformed FBI swat team did not consider the

events at the Capitol to be a pressing matter and that they had time to shoot the breeze with an

off-duty FBI colleague.




Figure 3: CCTV Camera 0675 shows Guandolo’s FBI Colleague 1 walking back to the group that FBI Colleague 2 photographed on
the steps after talking with the uniformed FBI swat team for approximately five minutes.

         But regardless of whether this conversation between uniformed and non-uniformed FBI

was for work or pleasure, it demonstrates that uniformed FBI working on the government’s

behalf know who this FBI agent in plain clothes is. It also shows that uniformed FBI did not

consider it important to tell a plain clothes FBI agent to stay out of what the government now
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alleges to be a restricted area. So, the government cannot argue this information (FBI Colleague

1’s identity) is unknown to the government, and their Footnote 5 concedes that they are

responsible for disclosure of this favorable evidence under LcrR 5.1(a).

       After Guandolo’s Colleague 1 returned to his group, they walked north along the path at

the same time my brother and I were approaching the same area.

The Government Has Withheld Discovery That Would Identify These FBI Witnesses

       On Page 10 of their response, the government claims that I failed to show that the

government knows of or possesses information related to my motion to compel. Obviously, the

previous section demonstrates that the FBI swat team knows who at least one of Guandolo’s

colleagues is. However, in addition to this video evidence and Guandolo’s statement that the

government has interviewed the FBI agents he was with (See ECF No. 212 at 6), the government

also possesses mass surveillance geofence data that would identify who these FBI agents are.

       In Global Production No. 12, the government produced two search warrants for the mass

collection of geofenced Google account subscriber information, ten search warrants pertaining to

aggregated location data, and six search warrants collecting location data from Verizon, AT&T

and T-Mobile/Sprint cell towers. While the government collected this data, their Global

Production Letter No. 12 explicitly states they intend to withhold from discovery the mass data

they received as a result of these warrants, thus preventing defendants such as myself from using

this geolocation data to identify and compel favorable witnesses who might testify on our behalf.

       As CCTV clearly shows, John Guandolo and his colleagues were using cell phones at the

Capitol, and those cell phones went inside the government’s alleged restricted area, which would

trigger their inclusion in the mass geofenced data collection that resulted from the government’s
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warrants. Thus, the government knows who these individuals are, or can easily find out, but the

government is preventing me from accessing this discoverable geofence data that I would use to

identify favorable witnesses.

       This issue of withholding geolocation data goes beyond just identifying the FBI agents

Guandolo was with. There are many other individuals who I was in close proximity to who were

filming with cell phones, including inside and outside of the Senate Carriage Doors, that would

be relevant to my case. The video recorded by those cellular devices and the testimony of these

individuals would be favorable to my defense and likely to influence a determination of

innocence. In fact, any audio these devices recorded is essential evidence needed for cross-

examining Capitol Police officers whose recollection of what was said or done in key situations

may have become fuzzy or imagined.

       For these reasons, I must ask the Court to compel the government to produce the

unredacted data obtained from all mass geofencing warrants related to the January 6 cases.

The Government’s Raindrop Theory Further Justifies Witness Identification

       As I noted in ECF No. 147 at 12, the government has in case after case invoked a

raindrop theory inspired by Judge Kollar-Kotelly’s ruling in United States v. Rivera, 21-cr-

00060-CKK, No. 62 at 13, to argue that every person in the government’s alleged restricted area

at the Capitol was a raindrop that contributed to a field flooding. If this were to be true, then

Guandolo and his FBI associates also elected to become raindrops inside the government’s

alleged restricted area, and their presence also contributed to the field flooding. Since the

government continues invoking this raindrop theory in January 6 cases, I must prepare to defend

against it. The testimony of Guandolo and his FBI associates is likely to confirm that based on
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their training and professional judgement they did not perceive this area to be restricted, nor did

they perceive that the presence of numerous individuals inside this area (including themselves)

was creating a flooding effect of civil disorder. This is clearly evidenced by these (supposedly

off-duty) FBI’s agents making the professionally informed decision to enter what the

government now alleges to be a restricted area and to take pictures up on the steps of the Capitol.

Since these are all current or former FBI agents, and since Guandolo is a former FBI Liaison to

Capitol Police, their professional eyewitness perspectives are likely to be effective at countering

the government’s raindrop theory and will be a persuasive and determining factor in my

exoneration on several charges, including the felony civil disorder.

       Furthermore, despite the government claiming in Footnote 2 on Page 1 of their response

that me seeking the identification of all FBI and other law enforcement that Guandolo interacted

with is overbroad, my request for this information falls entirely within the scope of the

government’s Raindrop Theory. By the government’s logic, all raindrops in the crowd on Capitol

grounds played a causal role, even those who are employed by the FBI or other law enforcement.

For me to counter this novel legal theory, I must call many of those ‘raindrops’ to testify, and

those best suited to testify are the very FBI agents who chose to be a part of what the government

alleges to be a “mob of hundreds of people” (See Exhibit 2 at 2).

       All of these FBI agents at the Capitol (presumably exercising their professional

judgement at the time) did not perceive the gathering to be a “mob” because they ultimately

chose to join it. These FBI agents presumably believed they were acting within their

Constitutional oaths, exercising First Amendment rights of assembly and speech in a public

space. Why else would so many supposedly off-duty FBI agents be at the Capitol?
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       The collective force of all of these FBI agents testifying favorably on my behalf (that

they did not perceive themselves to be members of a “mob”) is likely to be overwhelmingly

persuasive to a jury that the government’s raindrop theory is false and that it was not obvious to

those present that the grounds were statutorily restricted. The sheer number of these agents

testifying favorably on my behalf will create a cumulative effect that could not be gained from

the testimony of one agent alone. The more raindrops that fill the courtroom with their favorable

perspectives, the fuller the glass will be for me (the wrongly accused).

       So, my request is not overbroad. In order to defeat a macro legal theory, I have to put on

a macro legal defense. Even if some of these FBI agents did not personally witness or interact

with me, they did witness macro-level facts pertaining to the government’s flooded field theory,

so their eye-witness testimony is within the scope of my defense and will be materially relevant.

       For these reasons and those stated in ECF No. 212, I again move the court to grant my

motion to compel the government to recognize my due process right to obtain the identification

of these FBI agents who were eyewitnesses to events at the Capitol and can be compelled to

testify favorably on my behalf!

       Submitted respectfully to the Court,




                                                     By: William Pope
                                                         /s/
                                                     William Pope
                                                     Pro Se Officer of the Court
                                                     Topeka, Kansas
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                              Certificate of Service
            I certify that a copy of this was filed electronically for
                    all parties of record on March 20, 2024.
                                        /s/
                        William Alexander Pope, Pro Se
